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                     EXHIBIT B
       LEBLANC DECLARATION


        REDACTED VERSION OF
        DOCUMENT SOUGHT TO
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